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17                               UNITED STATES DISTRICT COURT

18                                      DISTRICT OF NEVADA

19   IMAGEKEEPER LLC, a Nevada Limited                Civil Action No.: 2:20-cv-01470-CDS-VCF
     Liability Company,
20
                         Plaintiff,                   DEFENDANT WRIGHT NATIONAL
21                                                    FLOOD INSURANCE SERVICES, LLC’S
           v.                                         MOTION FOR SUMMARY JUDGMENT
22                                                    FOR FAILURE TO ADEQUATELY
     WRIGHT NATIONAL FLOOD INSURANCE                  DISCLOSE TRADE SECRETS
23   SERVICES, LLC, a Delaware Limited Liability
     Company,                                         REDACTED VERSION
24
                         Defendant.
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           DEFENDANT WRIGHT NATIONAL FLOOD INSURANCE SERVICES, LLC’S MOTION FOR SUMMARY JUDGMENT
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 1          Defendant Wright National Flood Insurance Services, LLC (“Wright Flood”), pursuant to
 2   Rule 56 of the Federal Rules of Civil Procedure and the Court’s Order (ECF No. 195) granting Wright
 3   Flood’s Motion for Leave to file an Early Motion for Summary Judgment, hereby moves for summary
 4   judgment against Plaintiff ImageKeeper LLC’s (“Plaintiff”). This Motion is made and based upon
 5   the papers and pleadings on file, the memorandum of points and authorities, and declaration that
 6   follows, and any oral argument this Court may entertain.
 7
            Dated: April 26, 2022         DUANE MORRIS LLP
 8
                                                 By:    /s/ Terry W. Ahearn
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2           INTRODUCTION

 3           This is a trade secret misappropriation case. Despite repeated opportunities to adequately

 4   disclose its alleged trade secrets with particularity during discovery in this action, and having been

 5   warned and then given one last chance by the Court to do so, Plaintiff still cannot—or will not—take

 6   a position on the metes and bounds of what it contends to be trade secret information, and how such

 7   information could be distinguishable from information that is commonly known to the public.

 8   Plaintiff’s identification of alleged trade secrets is—in a word—inadequate.

 9           Plaintiff’s failure is most notably reflected in three ways. First, as Plaintiff has repeatedly told

10   the Court from the beginning of the case, computer source code is not at issue in this action. Ex. A1

11   (PI Hearing Tr.), at 30:1-5 (“We never alleged an issue of source code, Your Honor, so that’s not an

12   issue. Source code is not the issue here…we’re not alleging access to source code.” * * * The Court:

13   “[P]laintiff has made clear that they did not claim that the defendant had copied source code.”). Yet,

14   Plaintiff’s final identification of alleged trade secrets implies, and Plaintiff’s designated corporate

15   witness repeatedly testified, that unspecified lines of source code drawn from unidentified source code

16   files of unknown number and provenance make up integral portions of each of the seven alleged trade

17   secrets. Plaintiff’s corporate witness on the scope and content of the alleged trade secrets and the only

18   person who allegedly “designed, developed, managed, and deployed” all of the alleged trade secrets,2

19   Michael Patterson, could not identify a single name of a single source code file—and in fact could not

20   even provide a ballpark estimate of how many source code files make up Plaintiff’s system, aside from

21   saying there were “lots” of them. With one minor exception (for alleged trade secret 6), Plaintiff does

22   not identify any source code at all.

23           Second, Plaintiff takes ambiguous and noncommittal positions concerning the scope and

24   content of the alleged trade secrets, relying on vague and obfuscatory language—“such as,” “e.g.,”

25   “can/may include,” “encompasses,” and the like. Plaintiff also refers to various processes, procedures,

26
     1
       The exhibits cited herein refer to the exhibits to the Declaration of Jordana A. Garellek In Support
27   of Wright Flood’s Motion for Summary Judgment (“Garellek Decl.”) filed herewith.
     2
       See Ex. D (Plaintiff Imagekeeper, LLC’s Responses and Objections to Defendant Wright National
28   Flood Insurance Services, LLC’s Second Set of Interrogatories (9-11)) at 4.

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 1   and characteristics as “proprietary” or “unique,” but does not identify what those processes, procedures

 2   and characteristics are, let alone how they are purportedly proprietary or unique. In deposition,

 3   Plaintiff’s corporate designee on the alleged trade secrets, Michael Patterson, was, once again, unable

 4   to answer even basic, straightforward questions about what Plaintiff contends its alleged trade secrets

 5   to be.

 6            Third, Plaintiff cites a paltry number of documents that it purports disclose the alleged trade

 7   secrets. Plaintiff cites many of the same documents for several of the alleged trade secrets. However,

 8   Plaintiff fails to identify where in any of these documents the alleged trade secrets are disclosed or

 9   how the purported trade secrets are distinguishable from public information or information obtained

10   by Plaintiff from Wright Flood that is contained in these documents. Significantly, Plaintiff’s

11   corporate witness, Mr. Patterson, also could not identify the alleged trade secrets purportedly disclosed

12   in any of these documents.

13            Because Plaintiff fails to identify its alleged trade secrets with reasonable particularity and in

14   a manner that would reasonably allow Defendant Wright Flood to evaluate the scope of Plaintiff’s

15   claims and, most importantly, defend against them, the Court should enter summary judgment in favor

16   of Wright Flood as to all seven alleged trade secrets, and further as to all causes of action in this case

17   based on Plaintiff’s allegations of misappropriation.

18            STATEMENT OF FACTS & ALLEGATIONS

19            Plaintiff alleges that Wright Flood misappropriated Plaintiff’s trade secrets under the Defend

20   Trade Secrets Act (“DTSA”) and the Nevada Uniform Trade Secrets Act (“NUTSA”) by creating a

21   mobile system for insurance claims adjusters purportedly similar to the mobile system Wright Flood

22   ordered from (and specified for) Plaintiff. (ECF No. 67, Counts 1-3). Plaintiff also asserts several

23   other causes of action based on the same basic nucleus of facts in Counts 4-6, 8, and 10-11.

24            Wright Flood served its first set of interrogatories on Plaintiff on October 15, 2020, including

25   Interrogatory No. 1, which sought a detailed disclosure of Plaintiff’s alleged trade secrets. Plaintiff

26   initially responded to Interrogatory No. 1 on November 17, 2020. Thereafter, Plaintiff supplemented

27   its response to Interrogatory No. 1 on December 14, 2020. Neither Plaintiff’s initial response nor its

28   supplemental responses provided anything close to a reasonable level of detail concerning the scope

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 1   and content of the alleged trade secrets. Rather, the descriptions were obtuse, vague, and essentially

 2   incomprehensible.

 3           On January 29, 2021, Wright Flood filed a motion to compel Plaintiff to provide a more

 4   fulsome and complete response concerning its alleged trade secret disclosures. (ECF Nos. 110, 124,

 5   and 134). That motion was referred to Magistrate Judge Ferenbach. On April 30, 2021, Magistrate

 6   Judge Ferenbach granted Wright Flood’s motion, ordering Plaintiff to further supplement its responses

 7   to Interrogatory No. 1 no later than May 21, 2021. (ECF No. 157). The Court specifically ruled that

 8   Plaintiff thereafter would “not be permitted to materially alter the details of its trade secrets disclosed

 9   in its supplemental response.” (Id.). Thus, after several tries, this was to be Plaintiff’s final chance.

10   In accordance with the Court’s April 30, 2021 Order, Plaintiff served its Second Supplemental

11   Responses and Objections to Wright Flood’s Interrogatory No. 1 (hereinafter, Plaintiff’s “Final

12   Identification of Alleged Trade Secrets” or “Final ID” for short) on May 21, 2021. 3 See Ex. B, (Final

13   ID) at 10-29.

14           On July 23, 2021, Wright Flood filed its Motion for Leave to File an Early Motion for

15   Summary Judgment Outside the Limitations Imposed by Local Rule 7-3(a). (ECF No. 160). The Court

16   granted this motion on February 17, 2022. (ECF No. 195). The Court stated that it “does not find that

17   Wright National seeks leave to file an early summary judgment for the purposes of evading the District

18   of Nevada’s page limits for motions for summary judgment, but rather to simplify the trade secret

19   issues in the case.” (Id. at 5). The Court stated, “Summary judgment is thus proper as to whether

20   Plaintiff sufficiently identifies, with particularity, a trade secret to form the basis for its

21   misappropriation of trade secrets claim.” (Id. at 6). Pursuant to the Court’s Order (ECF No. 195),

22   Wright Flood files this Motion outside the limitations imposed by Local Rule 7-3(a).

23           For the reasons discussed below, Plaintiff’s Final ID fails to adequately disclose Plaintiff’s

24   alleged trade secrets 1-7 (the “Alleged Trade Secrets”)—a core element of Plaintiff’s trade secret

25   misappropriation claims to which Plaintiff bears the burden of proof.

26   3
       Plaintiff has since supplemented its responses to other interrogatories in Wright Flood’s First Set
     of Interrogatories (1-8). The content of Plaintiff’s response to Interrogatory No. 1 has remained
27   unchanged since May 21, 2021. The page numbers cited herein refer to Plaintiff’s Final ID as
     reproduced in Plaintiff’s Fourth Supplemental Responses and Objections to Wright Flood’s First Set
28   of Interrogatories.

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 1             LEGAL STANDARD

 2             A.       Legal Standard on Motion for Summary Judgment

 3             Summary judgment prevents unnecessary trials where no material issue of fact exists. Nw.

 4   Motorcycle Ass’n v. U.S. Dep’t of Agric., 18 F.3d 1468, 1471 (9th Cir. 1994). “Summary judgment

 5   procedure is properly regarded not as a disfavored procedural shortcut, but rather as an integral part

 6   of the Federal Rules as a whole.” Celotex Corp. v. Catrett, 477 U.S. 317, 327, 106 S. Ct. 2548, 2555

 7   (1986).        A court should grant summary judgment “if the pleadings, depositions, answers to

 8   interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

 9   genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter of

10   law.” Fed. R. Civ. P. 56(c); Celotex, 477 U.S. at 322. The moving party has the burden of

11   demonstrating that no genuine issue as to any material fact exists. Celotex, 477 U.S. at 323. “[T]he

12   burden on the moving party may be discharged by ‘showing’—that is, pointing out to the district

13   court—that there is an absence of evidence to support the nonmoving party’s case.” Id. at 325. See

14   also Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1105 (9th Cir. 2000) (a

15   movant may meet its initial burden on summary judgment by showing that an opposing party lacks

16   sufficient evidence to fulfill its ultimate burden of persuasion at trial).

17             Once a moving party has met its burden, the opposing party cannot “rest upon mere allegations

18   or denials in the pleadings, but must set forth specific facts showing that there exists a genuine issue

19   for trial.” Dai v. Freeman & Williams, No. 3:05-CV-00269-ECR (VPC), 2007 U.S. Dist. LEXIS

20   111628, at *3 (D. Nev. June 18, 2007) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

21   (1986)). In deciding a motion for summary judgment, a court considers the following: (a) whether a

22   fact is material; (b) whether a genuine issue for the trier of fact exists, as determined by the documents

23   submitted to the court; and (c) the evidence in light of the appropriate standard of proof. Id. at *3-4

24   (citing Anderson, 477 U.S. at 248). The opposing party “‘must do more than simply show that there

25   is some metaphysical doubt as to the material facts.’” Symbion Rsch. Int’l v. Lewis, No. 2:05-cv-

26   01324-RLH-GWF, 2007 U.S. Dist. LEXIS 117989, at *13-14 (D. Nev. Dec. 20, 2007) (quoting

27   Matsushita Elec. Indus. Co. v. Zenith Radio, 475 U.S. 574, 586 (1986)). “[O]nly disputes over facts

28   that might affect the outcome of the suit under the governing law will properly preclude the entry

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 1   of summary judgment” while “[d]isputes over irrelevant or unnecessary facts should not be

 2   considered.” Dai, 2007 U.S. Dist. LEXIS 111628, at *4. A court may grant summary judgment “[i]f

 3   the evidence is merely colorable, or is not significantly probative.” Anderson, 477 U.S. at 249-50

 4   (internal citations omitted).

 5           B.      Trade Secret Misappropriation

 6           Under the DTSA:

 7           [T]he term “trade secret” means all forms and types of financial, business, scientific,
             technical, economic, or engineering information, including patterns, plans,
 8           compilations, program devices, formulas, designs, prototypes, methods, techniques,
             processes, procedures, programs, or codes, whether tangible or intangible, and whether
 9           or how stored, compiled, or memorialized physically, electronically, graphically,
             photographically, or in writing if—
10
             (A) the owner thereof has taken reasonable measures to keep such information secret;
11           and
12           (B) the information derives independent economic value, actual or potential, from not
             being generally known to, and not being readily ascertainable through proper means by
13           another person who can obtain economic value from the disclosure or use of the
             information;
14

15   18 U.S.C. § 1839(3).

16           Similarly, NUTSA defines a trade secret as “information, including, without limitation, a

17   formula, pattern, compilation, program, device, method, technique, product, system, process, design,

18   prototype, procedure, computer programming instruction or code,” which “[d]erives independent

19   economic value . . . from not being generally known to, and not being readily ascertainable by proper

20   means by the public” and “[i]s the subject of efforts . . . to maintain its secrecy.” NRS §

21   600A.030(5). Misappropriation under the NUTSA requires the following: “(1) a valuable trade

22   secret; (2) misappropriation of the trade secret through use, disclosure, or nondisclosure of use of the

23   trade secret; and (3) the requirement that the misappropriation be wrongful because it was made in

24   breach of an express or implied contract or by a party with a duty not to disclose.” Chemeon Surface

25   Tech., LLC v. Metalast Int’l, Inc., 312 F. Supp. 3d 944, 958 (D. Nev. 2018).

26           C.      Lack of Particularity Grounds for Summary Judgment

27           In order to maintain a claim for trade secret misappropriation, the Ninth Circuit has held that

28   a plaintiff must “describe the subject matter of the trade secret with sufficient particularity to separate

                                                          5
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 1   it from matters of general knowledge in the trade or of special knowledge of those persons . . . skilled

 2   in the trade.” Imax Corp. v. Cinema Techs., Inc., 152 F.3d 1161, 1164-65 (9th Cir. 1998) (internal

 3   citations omitted). Failure to adequately disclose alleged trade secrets with sufficient particularity is

 4   grounds for summary judgment. See id. at 1167-70 (affirming district court’s summary judgment

 5   ruling because plaintiff failed to meet its burden to sufficiently identify its asserted trade secrets);

 6   FormFactor, Inc. v. Micro-Probe, Inc., No. C 10-3095 PJH, 2012 U.S. Dist. LEXIS 79359 at *18,

 7   2012 WL 2061520, at *6 (N.D. Cal. June 7, 2012) (granting summary judgment because plaintiff

 8   failed to “provide[] the requisite showing to clearly identify what each individual thing is that is

 9   alleged to be a trade secret.”), vacated pursuant to party stipulation, 2012 U.S. Dist. LEXIS 175773,

10   at *1 (N.D. Cal. Nov. 21, 2012); Bunnell v. Motion Picture Ass’n of Am., 567 F. Supp. 2d 1148, 1155

11   (C.D. Cal. 2006) (granting summary judgment after plaintiff failed to identify where to find its trade

12   secrets in 34 disclosed documents); Mont. Camo, Inc. v. Cabela’s, Inc., No. CV-08-71-BLG-RFC,

13   2010 U.S. Dist. LEXIS 57895, *12 (D. Mont. June 11, 2010) (granting summary judgment where

14   trade secrets were only defined by general categories); Sarkissian Mason, Inc. v. Enter. Holdings,

15   Inc., 955 F. Supp. 2d 247, 255 (S.D.N.Y. 2013), aff’d, 572 F. App’x. 19 (2d Cir. 2014) (applying

16   Missouri law, holding that “the Court cannot find a trade secret, because it is insufficiently defined.

17   . . . General categories of information are insufficiently specific to qualify as trade secrets.”) (internal

18   citations omitted).

19           “[I]t is Plaintiffs’ — not Defendants’— burden to clearly identify their trade secrets.” X6D

20   Ltd. v. Li-Tek Corps. Co., No. CV 10-2327-GHK (PJWx), 2012 U.S. Dist. LEXIS 207418, at *30

21   (C.D. Cal. Aug. 27, 2012). This is not simply a matter for discovery. “[T]his is a substantive issue

22   on which Plaintiffs bear the burden of proof.” Id. at *30. Indeed, “Plaintiffs are the only ones in

23   possession of the evidence with which to do so.” Id. at *30. This is an important obligation for many

24   reasons: “‘so that the defendant can defend himself adequately against claims of trade secret

25   misappropriation, and can divine the line between secret and non-secret information, and so that a

26   jury can render a verdict based on a discriminating analysis of the evidence of disclosure and

27   misappropriation.’” Id. at *30 n.7 (citing sit-up Ltd. v. IAC/Interactive Corp., No. 05-Civ.-9292,

28   2008 U.S. Dist. LEXIS 12017, at *11 (S.D.N.Y. Feb. 20, 2008)).

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 1           “Numerous courts have found similar [nonspecific and ambiguous] disclosures to be

 2   insufficient to carry the plaintiff’s burden at summary judgment of identifying the trade secrets at

 3   issue with sufficient particularity.” Id. at *24; see also Big Vision Private Ltd. v. E.I. Dupont De

 4   Nemours & Co., 1 F. Supp. 3d 224, 258 (S.D.N.Y. 2014) (collecting cases, stating, “each Circuit

 5   Court of Appeals to have opined on this issue has required a comparable degree of specificity, as

 6   have numerous district courts across the country”); Princess Cruises, Inc. v. Amrigon Enters., 51 F.

 7   App’x 626, 628 (9th Cir. 2002) (“[Plaintiff’s] failure to properly specify its asserted trade secrets

 8   rendered summary judgment on its counterclaim appropriate.”); Native Am. Servs. v. Givens, No. 98-

 9   35992, 2000 U.S. App. LEXIS 5045, at *4-7 (9th Cir. Mar. 23, 2000) (“Regarding the rest of

10   [Plaintiff’s] alleged trade secrets, [Plaintiff] fails to describe them with sufficient specificity. . . . Its

11   generalized and conclusory assertion that this information constitutes or contains trade secrets is

12   insufficient to create a triable issue.”).

13           PLAINTIFF FAILED TO MEET ITS BURDEN TO ADEQUATELY DISCLOSE ITS
             ALLEGED TRADE SECRETS WITH SUFFICIENT PARTICULARITY
14

15           Plaintiff’s Final ID fails to adequately disclose its Alleged Trade Secrets 1-7 with sufficient

16   particularity as ordered by the Court and as required under the law.

17           A.      Plaintiff’s Inconsistent and Inadequate Disclosure regarding Source Code

18                   1.      Source Code Is Not Alleged in This Case But is Asserted in the Final ID

19           Counsel for Plaintiff represented at oral argument early on in the proceedings that “[w]e never

20   alleged an issue of source code, Your Honor, so that’s not an issue. Source code is not the issue here.

21   [W]e’re not alleging access to source code.” Ex. A (PI Hearing Tr.) at 30:1-5. Yet, in its Final ID,

22   as well as in its 30(b)(6) corporate deposition testimony, Plaintiff asserts each of the Alleged Trade

23   Secrets includes source code. See, e.g., Ex. C (Patterson Dep.) at 28:16-31:3 (with respect to Alleged

24   Trade Secret 1, claiming that

25          ); id. at 35:11-21 (“                                   [in Alleged Trade Secret 2],

26

27                                                                                           ; id. at 36:15-16 (Q.

28   Does [Alleged Trade Secret 3] include any source code files? A. Yes.”); id. at 37:8-15 (

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 1                                                        [within Alleged Trade Secret 4]

 2

 3                               ; id. at 39:24-40:7 (

 4

 5

 6                           ; id. at 146:2-4 (

 7                   ; id. at 42:22-43:5 (

 8                           [in Alleged Trade Secret 7]

 9                                                                                  ).

10                    2.       Plaintiff Fails to Specifically Identify Source Code in its Final ID
11             Notwithstanding that Plaintiff now claims that source code is an integral part of each of the
12   seven Alleged Trade Secrets, Plaintiff fails to identify any source code at all in connection with
13   Alleged Trade Secrets 1-5 and 7. See Ex. B at 16-19 (Alleged Trade Secret 1), 19-21 (Alleged Trade
14   Secret 2), 21-22 (Alleged Trade Secret 3), 23-24 (Alleged Trade Secret 4), 24-26 (Alleged Trade
15   Secret 5), 28-29 (Alleged Trade Secret 7).      For Alleged Trade Secret 6, Plaintiff admits it failed to
16   disclose all of the source code. Ex. C (Patterson Dep.) at 146:2-4 (
17                                                       ). For each of the Alleged Trade Secrets, the Final ID
18   states that Plaintiff
19                                                          Ex. B (Final ID) at 19, 21, 22, 24, 26, 28, and 29.
20   Yet, Plaintiff failed to produce any source code in this matter. And even if it had, producing all of its
21   source code without specifically identifying the source code that purportedly implements the Alleged
22   Trade Secrets is insufficient to meet Plaintiff’s burden. X6D Ltd., 2012 U.S. Dist. LEXIS 207418, at
23   *23 (it is plaintiff’s “‘burden of identifying for the court exactly what it claim[s] as trade secrets.’”)
24   (citing Imax Corp., 152 F.3d at 1166) (emphasis added).
25             Indeed, Plaintiff’s corporate witness admitted that even if source code were provided, it would
26   be difficult to determine the relevant source code for the Alleged Trade Secrets without the
27                                   See Ex. C (Patterson Dep.) at 55:22-57:2 (objections omitted, emphasis
28   added):

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 1   listed in Plaintiff’s Final ID. Id. at 35:22-36:6 (

 2

 3

 4                ).

 5                          c.     Alleged Trade Secret 3 Does Not Include Source Code

 6           Trade Secret 3 is identified as

 7                                                                                      Ex. B (Final ID) at

 8   21. API stands for “application programming interface.” APIs in general have outward-facing “calls”

 9   that allow users from outside organizations to be able to interact with the API, while the non-public

10   portion of the API is comprised of source code that actually implements the functionality. Consider,

11   for example, a ‘drive-thru’ menu at a fast-food restaurant. A motorist might pull up to the speaker

12   and order (call) a “Combo Meal #1,” and upon payment at the window receive a burger, a large order

13   of french fries, and a medium cola drink. “Combo Meal #1” and what it represents (burger, large

14   fries, medium cola) are like the outward-facing portions of the API – which, undisputedly, is all

15   Wright Flood had access to in this case. What the motorist does not see, however, is the particular

16   steps of the order being prepared or the particular recipes (i.e., processes) involved in making the

17   “Combo Meal #1.” That process—out of the motorist’s view—is analogous to the non-public source

18   code that actually makes the API function which, undisputedly, Wright Flood never had access to in

19   this case.

20           Importantly, Plaintiff fails in the Final ID to distinguish between the outward-facing aspects

21   of the allegedly proprietary APIs versus the source code that actually makes the allegedly proprietary

22   APIs function. This is important to this case and the allegations asserted because Plaintiff previously

23   admitted that Wright Flood never had access to the source code (see Ex. A (PI Hearing Tr.) 30:1-5;

24   Ex. C (Patterson Dep.) 149:23-150:2), so there cannot be any misappropriation if such allegations are

25   based on the implementation of the APIs.

26           Incongruously, Plaintiff’s corporate representative nevertheless testified that Alleged Trade

27   Secret 3 as articulated in the Final ID includes source code. Ex. C (Patterson Dep.) at 36:7-17 (

28

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 1

 2

 3                                             ). The representative further testified that Alleged Trade

 4   Secret 3 includes

 5                                              Id. at 130:24-131:3. But Plaintiff identifies no source code

 6   in connection with Alleged Trade Secret 3. As the witness indicated,

 7                                                               Id. at 131:4-10. And Plaintiff’s corporate

 8   representative admitted that no particular source code was specified in the disclosure of Alleged Trade

 9   Secret 3. Id. at 36:15-24 (

10

11                                                                     ).

12                          d.     Alleged Trade Secret 4 Does Not Include Source Code

13          Alleged Trade Secret 4 is identified as

14                                                           Ex. B (Final ID) at 23. Like the other alleged

15   trade secrets, Plaintiff’s corporate representative testified that Alleged Trade Secret 4’s

16

17                        Ex. C (Patterson Dep.) at 37:13-15. However, Plaintiff does not identify any

18   source code allegedly related to Trade Secret 4. As Plaintiff’s corporate representative testified,

19

20                                          Id. at 37:23-38:4.

21                          e.     Alleged Trade Secret 5 Does Not Include Source Code

22          Alleged Trade Secret 5 is identified as a

23                                                                 Ex. B (Final ID) at 24. Despite admitting

24   that the allegedly “proprietary” aspects of Alleged Trade Secret 5 are reflected in source code,

25   Plaintiff does not identify any source code purportedly relating to Alleged Trade Secret 5. As

26   Plaintiff’s corporate representative admitted,                                                  in the

27   disclosure of Alleged Trade Secret 5. Ex. C (Patterson Dep.) at 39:24-41:4.

28

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 1                          f.        Plaintiff’s Disclosure of Alleged Trade Secret 6 Includes Only a
                                      Portion of Source Code
 2
            Alleged Trade Secret 6 is identified as                                                        Ex.
 3
     B (Final ID) at 26. As for Alleged Trade Secret 6, the Final ID does include a snippet of source code.
 4
     See Ex. B (Final ID) at 26-28; Ex. C (Patterson Dep.) at 41:10-14 (
 5

 6
                                                                    ). Clearly, Plaintiff knew how to identify
 7
     relevant source code when it chose to do so. And insofar as Plaintiff alleged that snippet of source
 8
     code to be a trade secret, Wright Flood agrees that it would have been identified with specificity.
 9
     However, Plaintiff refuses to draw the line here.
10
            Plaintiff’s corporate witness refused to commit to identifying such code as the entirety of
11
     Alleged Trade Secret 6. Ex. C (Patterson Dep.), at 146:2-4 (
12
                                  ); id. at 58:2-6 (
13

14
                                                                  ). Mr. Patterson was also unable to identify
15
     where this snippet of source code came from or in what file it exists. Id. at 41:15-22 (
16

17

18
                                                   ). In any event, Mr. Patterson admitted that Plaintiff does
19
     not contend that the source code cited was ever accessed by Wright Flood. Id. at 149:23-150:2 (
20

21
                                 ).
22
                            g.        Alleged Trade Secret 7 Does Not Include Source Code
23
            Alleged Trade Secret 7 is identified as                                                        Ex.
24
     B (Final ID) at 28. Plaintiff fails to indicate whether this trade secret includes or is limited to source
25
     code and Plaintiff has not disclosed any source code allegedly related to Trade Secret 7. Moreover,
26
     Plaintiff’s corporate representative testified that he did
27
                                                       in relation to Alleged Trade Secret 7. Ex. C (Patterson
28

                                                          14
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 1   Dep.) at 42:22-43:5.

 2            B.     Plaintiff’s Alleged Trade Secrets are Inadequately Disclosed

 3                   1.      The Final ID Contains Improperly Vague and Ambiguous Language

 4            Equally deficient, the Alleged Trade Secrets are described at multiple, often conflicting, levels

 5   of abstraction in the Final ID, using vague and ambiguous language. Terms like

 6                                                                                                      appear

 7   repeatedly throughout the descriptions. See, e.g., Ex. B (Final ID) at 15-17, 25 (              ), 22, 23

 8   (                                  ). There are further references to                                 and

 9                             , but those                               are undisclosed. See, e.g., id. at 18

10   and 24. These open-ended and ambiguous terms leave Wright Flood, the Court, and the trier of fact

11   guessing as to the scope of Plaintiff’s alleged trade secrets.

12            Courts have held that such open-ended descriptions are insufficient to maintain an action for

13   trade secret misappropriation. See, e.g. Imax Corp., 152 F.3d at 1164-65 (affirming grant of summary

14   judgment for failure to identify trade secrets with “sufficient particularity”).            Trade secret

15   misappropriation plaintiffs “must identify the trade secrets and carry the burden of showing they

16   exist,” by “describ[ing] the subject matter of the trade secret with sufficient particularity to separate

17   it from matters of general knowledge in the trade or of special knowledge of those persons . . . skilled

18   in the trade.” Id. The defendant in Imax issued two interrogatories requesting that Imax identify the

19   alleged trade secrets in their entirety. Id. at 1165. Imax was compelled by the court to respond to—

20   and later, to supplement its responses to—these interrogatories. Id. at 1165-66. Imax’s responses

21   identified eighty purported trade secrets but failed to “identify the precise numerical dimensions and

22   tolerances” of those purported trade secrets. Id. at 1166. Instead, Imax used the improper “catchall

23   phrase ‘including every dimension and tolerance that defines or reflects that design.’” Id. at 1167.

24   The Ninth Circuit determined that this disclosure was insufficient because “it does not clearly refer

25   to tangible trade secret material.” Id. (emphasis added). Thus, it would be “unlikely” that the district

26   court could discern which of the asserted system’s “many ‘dimensions and tolerances’ were trade

27   secrets.” Id. And it would be impossible for the defendant to prepare a defense to the trade secrets

28   claim “without some concrete identification of exactly what ‘dimensions and tolerances’” the

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 1   defendant was alleged to have misappropriated.              Id.   Because Imax’s Fourth Supplemental

 2   interrogatory responses “failed to indicate precisely which dimensions and tolerances were trade

 3   secrets”—and therefore failed to identify the purported trade secrets with “reasonable specificity”—

 4   summary judgment was proper. Id.

 5           Plaintiff’s Final ID suffers from the same shortcomings that made summary judgment

 6   appropriate in Imax. Like the plaintiff in Imax, Plaintiff was ordered by the Court to provide a specific

 7   identification of its alleged trade secrets. See ECF No. 157. Plaintiff’s Final ID parallels the

 8   insufficient identification in Imax. Plaintiff’s Final ID similarly uses broad, “catchall” terms from

 9   which the Alleged Trade Secrets cannot be clearly determined. For example, Plaintiff claims that

10   “[Alleged]                                                                                                (see

11   infra § IV.B.1) and that Alleged Trade Secret 3 includes

12                                                                                       See infra § IV.B.3. The

13   Final ID therefore fails to properly identify the Alleged Trade Secrets. See Imax, 152 F.3d at 1167;

14   see also X6D Ltd., 2012 U.S. Dist. LEXIS 207418, at *22 (“Plaintiffs’ operative trade secrets

15   disclosure fails to identify any actual trade secrets but instead lists twenty categories of Plaintiffs’

16   trade secrets that Plaintiffs allege to be misappropriated and which Plaintiffs intend to pursue at

17   trial.”) (internal citations and quotation marks omitted); Sarkissian, 955 F. Supp. 2d at 255 (“[T]he

18   Court cannot find a trade secret, because it is insufficiently defined. . . . General categories of

19   information are insufficiently specific to qualify as trade secrets.”) (internal citations omitted);

20   Knights Armament Co. v. Optical Sys. Tech., Inc., 254 F.R.D. 463, 467 (M.D. Fla. 2008) (“It is

21   axiomatic that a party may not assert a cause of action for misappropriation of trade secrets without

22   identifying for the opposing party the trade secrets at issue. . . . [I]t is insufficient to describe the trade

23   secrets by generic category. . . . Rather, [the plaintiff] must identify the specific characteristics of

24   each trade secret. . . .”) (internal citations omitted); sit-up Ltd., 2008 U.S. Dist. LEXIS 12017, at *34

25   (“[S]pecificity is required before the court so that the defendant can defend himself adequately against

26   claims of trade secret misappropriation, and can divine the line between secret and non-secret

27   information, and so that a jury can render a verdict based on a discriminating analysis of the evidence

28   of disclosure and misappropriation.”).

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 1          Plaintiff’s lack of specificity in its disclosures and in its subsequent corporate testimony

 2   renders the Alleged Trade Secrets inadequately disclosed.           Plaintiff’s insufficient disclosures

 3   inappropriately leave Wright Flood, the Court, and the trier of fact to discern the specific elements of

 4   the Alleged Trade Secrets. For this additional reason, the Court should dismiss Plaintiff’s trade

 5   secrets misappropriation allegations regarding the Alleged Trade Secrets.

 6                  2.      Alleged Trade Secrets 1-5 and 7 are Inadequately Disclosed
 7          As discussed below, each of Alleged Trade Secrets 1-5 and 7 are insufficiently disclosed in
 8   Plaintiff’s Final ID due to Plaintiff’s improper use of broad and ambiguous language. It is Plaintiff’s
 9   “‘burden of identifying for the court exactly what it claim[s] as trade secrets.’” X6D Ltd., 2012 U.S.
10   Dist. LEXIS 207418, at *23 (citing Imax Corp., 152 F.3d at 1166) (emphasis added).                   This
11   identification must go beyond the disclosure of “nebulous concepts,” categories, or examples. Mont.
12   Camo, Inc., 2010 U.S. Dist. LEXIS 57895, at *12; see also Sarkissian Mason, Inc., 955 F. Supp. 2d
13   at 255 (“If Plaintiffs[] seek to define the concept so broadly, the Court cannot find a trade secret,
14   because it is insufficiently defined . . . . General categories of information are insufficiently specific
15   to qualify as trade secrets.”) (internal citations omitted). Plaintiff must show (1) whether a given
16   piece of information constitutes a trade secret; (2) identify that trade secret; and (3) describe the
17   subject matter of that trade secret all with sufficient particularity. FormFactor, 2012 U.S. Dist.
18   LEXIS 79359 at *17-18. Again, Plaintiff fails to do so.
19                          a.      Alleged Trade Secret 1 Contains Ambiguous Language
20          Plaintiff’s description of
21   describes a generic category of functionalities, not a specific proprietary method. Ex. B (Final ID) at
22   16. According to Plaintiff,
23   certain functionality. Id. (emphasis added). The word                     is ambiguous. It can be open-
24   ended (meaning it could include other things) or closed-ended (an exhaustive description). See
25                                                                                                            .
26   (last accessed Apr. 1, 2022). At deposition, Plaintiff’s corporate representative refused to commit to
27   whether                 is intended as open-ended or closed-ended in this context. Ex. C (Patterson
28   Dep.) at 43:6-46:6. While Alleged Trade Secret 1 may                     certain                 Plaintiff

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 1   will not say how those capabilities are implemented (somewhere in source code, apparently), or what

 2   other capabilities, if any, might also be included.

 3          According to Plaintiff,

 4                                                                                                    Ex. B (Final

 5   ID) at 16 (emphasis added). Again,                         is ambiguous. Additionally,              connotes

 6   an example or series of examples that may or may not be exhaustive.

 7                                                                                        (last accessed Apr. 1,

 8   2022). It would have been straightforward enough for Plaintiff to simply say “Trade Secret 1 is

 9                                                     implemented [in a particular way] . . . .” Yet Plaintiff

10   and its representatives have repeatedly declined to limit or clarify the description as they were ordered

11   to do. Moreover, if there are multiple discrete alleged trade secrets in this first category of

12   functionalities, Plaintiff has failed to clarify this point in violation of the Court’s order to do so and

13   violation of the law.

14          Later, the Final ID asserts,

15     Ex. B (Final ID) at 16. Plaintiff does not identify what this purportedly                  process is.

16   Likewise,                                                                            Ex. B (Final ID) at 18.

17   Plaintiff never identifies what the purportedly                                      is. Plaintiff’s corporate

18   representative testified that                                                  is

19                              but this example is neither mentioned in the Final ID nor is it in any way

20               to Plaintiff’s system. Ex. C (Patterson Dep.) at 83:5-19. In fact, the

21            is a number issued by FEMA, a federal agency, and used for many years in Wright Flood’s

22   (and others’) National Flood Insurance Program claim processing, so how that number, at least in its

23   own right, could ever be a trade secret of Plaintiff’s is unclear. Id. at 85:5-86:4 (acknowledging

24                                                                         ). If Plaintiff is alleging that Alleged

25   Trade Secret 1 is a combination of the                                 with some other information, Plaintiff

26   fails to say what that combination is.

27          Plaintiff further alleges that it has trade secret rights in

28                                                                                   Ex. B (Final ID) at 18. But

                                                           18
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 1   Plaintiff does not identify which          these are, or how they are          d (again, apparently in

 2   source code that Plaintiff did not identify and Wright Flood never had access to).

 3          Plaintiff contends that

 4                                                                                        Ex. B (Final ID) at

 5   18. Plaintiff did not identify these                       Plaintiff provides one example:

 6            But like the                                                    is not proprietary to Plaintiff.

 7   To the contrary, the                            is administered by FEMA, a federal agency funded by

 8   taxpayers. And if Plaintiff means to claim rights in how these                          are             ,

 9   presumably that would take place in source code, which Plaintiff did not identify and Wright Flood

10   never had access to.

11          According to Plaintiff, “[Alleged]

12                                                             Ex. B (Final ID) at 18. As discussed above,

13                   can be open-ended or closed-ended, and Plaintiff cannot (or will not) say which applies

14   in this context. Plaintiff also contends that

15                                                                                              Id. at 19. Yet

16   Plaintiff does not identify or anywhere describe this                        Of course, any

17   process presumably is implemented in source code, which Plaintiff admits it did not identify and

18   Wright Flood never had access to.

19          Plaintiff further contends that

20                               Ex. B (Final ID) at 19. But again, this is just a generic capability, not a

21   particular process.     Nor does Plaintiff identify what aspects are                      or how such

22                  is implemented. Of course, any alleged                   presumably is implemented in

23   source code that Plaintiff has not identified and Wright Flood never had access to.

24          Plaintiff also claims

25

26             Ex. B (Final ID) at 19. But again, this is just a statement of generic capability, not an

27   identification of anything that is even arguably unique. Plaintiff further states,

28                                                                                                 Id. Again,

                                                         19
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 1   Plaintiff fails to identify these purportedly                                   .

 2                           b.      Alleged Trade Secret 2 Contains Ambiguous Language

 3           According to Plaintiff, “[Alleged]

 4

 5                                                            Ex. B (Final ID) at 19. This passage appears

 6   to merely describe a generic capability, not a particular means of implementing such capability.

 7   Plaintiff says that

 8                                                                                                        Id.

 9   (emphasis added). The phrase                     is open-ended and conditional.

10           According to the Final ID,

11                                                                                  Ex. B (Final ID) at 20.

12   But again, this is just a generic capability, not an implementation of anything. To the extent there is

13   an implementation of this capability, that implementation presumably exists in source code—source

14   code not identified by Plaintiff and never accessed by Wright Flood.

15                           c.      Alleged Trade Secret 3 Contains Ambiguous Language

16           According to Plaintiff,

17

18                   Ex. B (Final ID) at 21.

19           As discussed above (see supra § IV.A.3.), Plaintiff fails in the Final ID to distinguish between

20   the outward-facing aspects versus the implementation aspects (i.e. source code) of the allegedly

21   proprietary APIs. It is the implementation aspects that actually make the APIs function. This is an

22   important distinction because Wright Flood never had access to the implementing aspects of the APIs

23   and, in any event, Plaintiff has completely failed to disclose any implementing aspects of the APIs in

24   its Final ID. See supra § IV.A.3. Thus, there cannot be any misappropriation of the APIs by Wright

25   Flood if such allegations are based on the implementation of the APIs. If the proprietary features of

26   the APIs are in the outward facing aspects of these APIs, the Final ID fails, once again, to disclose

27   the specific trade secrets that are purportedly contained in the outward-facing aspects.

28

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 1              First, Plaintiff fails to disclose which APIs or which tasks out of this purported

 2          constitute Alleged Trade Secret 3. The Final ID further states,

 3                                                                      Ex. B (Final ID) at 21 (emphasis added).

 4   Not only does Plaintiff provide just one                     (another open-ended term), Plaintiff does not

 5   identify the names of any particular APIs. Rather, this example appears to refer to some category of

 6                               —the identities of which are not specified. Additionally, the Final ID states

 7   that

 8                                                         Id. Plaintiff does not identify these APIs by name or

 9   even indicate how many such                                     are in this category. Plaintiff’s corporate

10   representative testified,

11          but could not identify what APIs those were. Ex. C (Patterson Dep.) at 126:24-127:10.

12              The Final ID also states that “[Alleged Trade Secret 3]

13                                                                                                          Ex. B

14   (Final ID) at 21-22. Not only is this passage not explained, Plaintiff does not indicate whether it

15   regards these                 to be trade secrets – if they are alleged trade secrets, as discussed above, the

16   corresponding source code is missing. More importantly, Plaintiff’s corporate representative testified

17   that the                                  an Alleged Trade Secret and that there is

18                                                   the

19                                             but does not recall                     Ex. C (Patterson Dep.) at

20   128:15-129:9.

21              Lastly, the Final ID states,

22                                Ex. B (Final ID) at 22. Plaintiff fails to identify any                       or

23   even indicate how many such APIs are in this category. Again, not only is Plaintiff’s Final ID lacking

24   any identification of the alleged trade secret APIs, Plaintiff itself did not know or refused to identify

25   the names of these APIs. Plaintiff’s corporate representative testified that the

26                                                                            Ex. C (Patterson Dep.) 129:10-14

27   (emphasis added).

28

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 1                           d.       Alleged Trade Secret 4 Contains Ambiguous Language

 2           While Plaintiff does not include report creation in the title for Trade Secret 4, Plaintiff states

 3   that this alleged trade secret                                                                    and lists

 4   examples of various types of            . Ex. B (Final ID) at 23. It is unclear whether Plaintiff claims

 5                                           as trade secrets, or whether it is some subpart or subfeature of

 6   the same that is at issue.

 7           Further, Plaintiff’s corporate representative testified,

 8                        and that the

 9                                 Ex. C (Patterson Dep.) at 132:17-133:14. Plaintiff has not specifically

10   identified what these                             are.

11           Moreover, Alleged Trade Secret 4 merely includes generic descriptions of                             .

12   The           listed are            publicly defined by insurance companies or according to FEMA

13   reporting forms. According to Plaintiff,

14      Ex. B (Final ID) at 23. It is not sufficient to merely provide                  of           and forms.

15   Plaintiff needed to identify which particular ones (or portions thereof) it was alleging as trade secrets.

16   Yet Plaintiff would not take a position on that issue.

17           Additionally, Plaintiff’s description of                                 simply states that

18

19   but fails to describe how

20                or how any of this is an alleged trade secret. Ex. B (Final ID) at 23. Plaintiff also fails

21   to describe how it uses the                                                       or what the

22                                           is. Id.

23                           e.       Alleged Trade Secret 5 Contains Ambiguous Language

24           According to Plaintiff,

25                                                 Ex. B (Final ID) at 24-25. Again,                is an open-

26   ended term. Plaintiff would not commit to a position as to whether there are other                       , not

27   listed in the response, that it believes are part of this trade secret category. See Ex. C (Patterson Dep.)

28   at 144:4-145:21. Plaintiff therefore fails to identify which            it alleges to be trade secret.

                                                              22
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 1           Plaintiff also fails to indicate whether it is asserting its Alleged Trade Secret 5 is the

 2   functionality of the                                                    tool or the method and order of steps

 3   that are described in the response. Plaintiff also failed to explain what the

 4   comprise and how they are                            Ex. B (Final ID) at 25. Plaintiff additionally fails to

 5   indicate how the                          are created, how the                                 and to which

 6                it is referring. Id. Further, as discussed above, the term                in

 7                                                                                               only provides an

 8   example of the                Id. Plaintiff additionally fails to indicate whether the               are part

 9   of the Alleged Trade Secret 5 or if they are some user-defined variation.

10           According to Plaintiff,

11                                                                           Id. Plaintiff never explains what is

12   purportedly unique about the              and whether there is a set of unique features of the           that

13   Plaintiff asserts to be a trade secret.

14           According to Plaintiff,

15

16

17                          Id. As with the                             tool, Plaintiff does not explain what is

18   purportedly unique about the          that it is claiming as a trade secret. It is unclear whether Plaintiff

19   is asserting that                                                                is part of—or comprises in

20   its entirety—a trade secret. Plaintiff does not articulate or take a position on

21

22           According to Plaintiff,

23

24                                                  Id. at 26. Again,            is an open-ended term. Plaintiff

25   failed to indicate whether it is alleging the fact that

26                       is a trade secret. If the latter, Plaintiff fails to indicate what is the allegedly

27   proprietary method for                                             .

28

                                                            23
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 1          Plaintiff states that the

 2

 3                   Id. (emphasis added). Again, this is an open-ended term. Plaintiff fails to indicate

 4   whether it is the content of the report that it is asserting is the trade secret. If so, Plaintiff fails to

 5   indicate what are the purportedly unique or proprietary elements of the              . Plaintiff does not

 6   articulate what kind of                           is provided and how it is generated. Id. Plaintiff also

 7   fails to clarify what kind of                            is provided and how it is generated. Id.

 8                             f.    Alleged Trade Secret 7 Contains Ambiguous Language

 9          According to Plaintiff,

10

11                                                                                                          Ex.

12   B (Final ID) at 28 (emphasis added). These are again open terms. Plaintiff fails to identify all of the

13   updates it is asserting to be trade secrets, instead of merely listing a few examples.

14          Plaintiff also fails to explain how this Alleged Trade Secret differs from Alleged Trade Secret

15   3. And Plaintiff’s corporate representative further contributes to the confusion and ambiguity by

16   testifying that Alleged Trade Secret 7                                                   Ex. C (Patterson

17   Dep.) at 150:10-152:3.

18          The Final ID also states,

19

20                                                                 Ex. B (Final ID) at 29 (emphasis added).

21   This is an open-ended term. Plaintiff has failed to articulate what other activities are allegedly

22   covered, if any.

23          C.      Plaintiff Inadequately Disclosed Documentary Evidence

24                  1.         Plaintiff Fails to Properly Identify Documentary Evidence In Support of
                               Its Alleged Trade Secrets
25
            Plaintiff cites a mere 37 documents that purportedly disclose the Alleged Trade Secrets, out
26
     of the more than 52,000 documents it has produced in this case. See generally, Ex. E (Documents
27
     Cited in Final ID). Additionally, Plaintiff cites many of the same documents for each Alleged Trade
28

                                                         24
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 1   disclosed.
                    2.      The Documentary Evidence Cited by Plaintiff Fails to Identify the
 2                          Alleged Trade Secrets
 3          Plaintiff must “specifically identify what in these documents is a trade secret and where within

 4   these documents that information is located.” X6D Ltd., 2012 U.S. Dist. LEXIS 207418, at *23; see

 5   also Bunnell, 567 F. Supp. 2d at 1155. As outlined below, the documentary evidence cited by

 6   Plaintiff, likewise, fails to sufficiently disclose the Alleged Trade Secrets.

 7                          a.      Plaintiff Does Not Identify the Alleged Trade Secrets in the
                                    Documents Cited with Regard to Alleged Trade Secret 1
 8
            Plaintiff identifies six documents that purportedly describe Alleged Trade Secret 1. See Ex.
 9
     B (Final ID) at 19. Plaintiff makes no effort to specify what information in those documents is
10
     allegedly trade secret. Notably, of the six documents identified, three of them are also identified in
11
     connection with Alleged Trade Secrets 2, 3, 4, and 7. See id. at 19, 21, 22, 24, and 29. Likewise,
12
     another document of the six documents identified that purportedly describe Alleged Trade Secret 1
13
     is also identified for Alleged Trade Secret 3. See id. at 19 and 22. Plaintiff does not provide any
14
     indication of what information in each of those documents constitutes each Alleged Trade Secret.
15
                            b.      Plaintiff Does Not Identify the Alleged Trade Secrets in the
16                                  Documents Cited with Regard to Alleged Trade Secret 2
17          Plaintiff identifies six documents that purportedly describe Alleged Trade Secret 2. See Ex.

18   B (Final ID) at 21. Plaintiff does not specify what information in those documents is purportedly

19   trade secret. Of the six documents identified, three of them are also identified for Alleged Trade

20   Secrets 1, 3, 4, and 7. See id. at 19, 21, 22, 24, and 29. Likewise, another two of the six documents

21   that purportedly describe Alleged Trade Secret 2 are also identified for Alleged Trade Secret 3. See

22   id. at 21 and 22. Plaintiff provides no indication of what information in each of those documents

23   purportedly constitutes each Alleged Trade Secret.

24                          c.      Plaintiff Does Not Identify the Alleged Trade Secrets in the
                                    Documents Cited with Regard to Alleged Trade Secret 3
25
            Plaintiff identifies 31 documents that purportedly describe Alleged Trade Secret 3. Ex. B
26
     (Final ID) at 22. Plaintiff has not identified what information in those documents is allegedly trade
27
     secret. Of the 31 documents identified, three of them are also identified for Alleged Trade Secrets 1,
28

                                                         27
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 1   2, 4, and 7. See id. at 19, 21, 22, 24, and 29. Likewise, another two documents of the 31 documents

 2   that purportedly describe Alleged Trade Secret 3 are also identified for Alleged Trade Secret 2. See

 3   id. at 21 and 22. Similarly, another five documents of the 31 documents that purportedly describe

 4   Alleged Trade Secret 3 are also identified for Alleged Trade Secret 4. See id. at 22 and 24. Further,

 5   another document of the 31 documents identified that purportedly describe Alleged Trade Secret 3 is

 6   also identified for Alleged Trade Secret 1. See id. at 19 and 22. Additionally, one more document of

 7   the 31 documents that purportedly describe Alleged Trade Secret 3 is also identified for Alleged

 8   Trade Secret 7. See id. at 22 and 29. Plaintiff does not provide any indication of what information

 9   in each of those documents constitutes each Alleged Trade Secret.

10                          d.     Plaintiff Does Not Identify the Alleged Trade Secrets in the
                                   Documents Cited with Regard to Alleged Trade Secret 4
11
            Plaintiff identifies nine documents that purportedly describe Alleged Trade Secret 4. Ex. B
12
     (Final ID) at 24. Of the nine documents identified, three of them are also identified for Alleged Trade
13
     Secrets 1, 2, 3, and 7. See id. at 19, 21, 22, 24, and 29. Likewise, another five documents of the nine
14
     documents that purportedly describe Alleged Trade Secret 4 are also identified for Alleged Trade
15
     Secret 3. See id. at 22 and 24. Plaintiff does not provide any indication of what information in each
16
     of those documents constitutes each Alleged Trade Secret.
17
                            e.     Plaintiff Does Not Identify the Alleged Trade Secrets in the
18                                 Documents Cited with Regard to Alleged Trade Secret 5
19          Plaintiff identifies the following document that purportedly describes Alleged Trade Secret 5:

20   IMKP-WF-098726-098729. Ex. B (Final ID) at 26. Plaintiff has not identified what information in

21   this document is allegedly trade secret.

22                          f.     Plaintiff Does Not Identify the Alleged Trade Secrets in the
                                   Documents Cited with Regard to Alleged Trade Secret 6
23
            Plaintiff identifies the following document that purportedly describes Alleged Trade Secret 6:
24
     IMKP-WF-098730-098731. Ex. B (Final ID) at 28. Plaintiff has not identified what information in
25
     this document is allegedly trade secret.
26

27

28

                                                       28
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 1                           g.    Plaintiff Does Not Identify the Alleged Trade Secrets in the
                                   Documents Cited with Regard to Alleged Trade Secret 7
 2
            Plaintiff identifies five documents that purportedly describe Alleged Trade Secret 7. Ex. B
 3
     (Final ID) at 29. Of the five documents identified, three of them are also identified for Alleged Trade
 4
     Secrets 1, 2, 3, and 4. See id. at 19, 21, 22, 24, and 29. Additionally, another document of the five
 5
     documents that purportedly describe Alleged Trade Secret 7 is also identified for Alleged Trade
 6
     Secret 3. See id. at 22 and 29. Plaintiff does not provide any indication of what information in each
 7
     of those documents constitutes each Alleged Trade Secret.
 8
            CONCLUSION
 9
            For the reasons set forth above, the Court should enter summary judgment in favor of Wright
10
     Flood as to all seven Alleged Trade Secrets and all causes of action related to these trade secrets.
11
     Specifically, the Court should enter summary judgment in favor of Wright Flood as to Counts 1-3 of
12
     the Amended Verified Complaint.         And to the extent Counts 4-6, 8, and 10-11 are based on
13
     misappropriation of the Alleged Trade Secrets that are inadequately disclosed, the Court should enter
14
     summary judgment in favor of Wright Flood as to these claims as they relate to the alleged,
15
     inadequately disclosed trade secrets.
16

17   Dated: April 27, 2022                   DUANE MORRIS LLP
18

19                                                 By:        /s/ Terry W. Ahearn
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20                                                            Terry W. Ahearn
                                                              D. Stuart Bartow
21                                                            Daniel B. Heidtke
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22                                                            Brianna M. Vinci

23                                                            Attorneys for Defendant Wright National Flood
                                                              Insurance Services LLC
24

25

26

27

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                                                         29
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 1                                         PROOF OF SERVICE

 2           I hereby certify that I am a citizen of the United States and am employed in Clark County,
     where this mailing occurs. I am over the age of eighteen years and not a party to the within entitled
 3   action; my business address is 2475 Hanover Street, Palo Alto, CA 93404.

 4        On April 27, 2022, I served the document described as DEFENDANT WRIGHT
     NATIONAL FLOOD INSURANCE SERVICES, LLC’S MOTION FOR SUMMARY
 5   JUDGMENT on the interested party(ies) in this action:

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17
                    BY MAIL: I am “readily familiar” with the firm’s practice of collection and
18                  processing correspondence for mailing. Under that practice it would be deposited with
                    the U.S. postal service on that same day with postage thereon fully prepaid at Las
19                  Vegas, Nevada, in the ordinary course of business.
20                  BY FEDERAL EXPRESS: I served said document(s) to be delivered on the same
                    day to a courier or driver authorized by Federal Express to receive documents, in an
21                  envelope or package designated by Federal Express.
22                  BY ELECTRONIC SERVICE: I served a true copy, with all exhibits, electronically
                    on designated recipients via electronic transmission of said document(s) as provided
23                  under Federal Rules of Civil Procedure.
24

25                                                    /s/ Andrew Hanna

26                                                    An employee of DUANE MORRIS LLP

27

28

                                                       30
           DEFENDANT WRIGHT NATIONAL FLOOD INSURANCE SERVICES, LLC’S MOTION FOR SUMMARY JUDGMENT
